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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

In re: BAYCOL PRODUCTS LITIGATION                                      MDL NO. 1431 (MJD/JGL)

This Document Relates to the following case:

JAMES A. POOLE                                      §       Court File No. 04-CV-00346-MJD
                                                    §
VS.                                                 §       Transferred from:
                                                    §
BAYER CORPORATE, a wholly                           §       Civil Action No. 1:03-CV-00759-HC
owned subsidiary of BAYER AG                        §       Eastern District of Texas,
(DR. DAVID WASSERMAN), ET AL.                       §       Beaumont Division


             DEFENDANT, DR. DAVID WASSERMAN’S, ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, DR. DAVID WASSERSMAN, a Defendant in the above-entitled

and numbered cause, files and makes this his Original Answer, and in support thereof

would respectfully show the Court as follows:

                                              FIRST DEFENSE

        1.       Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendant asserts

the defense of lack of jurisdiction over the subject matter.

                                            SECOND DEFENSE

        2.       Pursuant to Federal Rule of Civil Procedure 12(b)(3), Defendant asserts

improper venue. Defendant asserts that venue is improper in the present cause before

this Court for the reason that Plaintiff cannot establish that proper venue existed prior to

the time at which these claims were removed to federal court. Defendant specifically

pleads that Travis or Williamson rather than Orange County was the county of proper

venue in the forum in which this suit was originally brought. Plaintiff, however, filed suit



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in Orange County, and did so despite the fact that such was not a county of proper

venue as to this Plaintiff under the general venue rule. Orange County is not (1) the

county in which all or a substantial part of the events giving rise to Plaintiff’s claim

occurred, (2) the county of Defendant’s residence at the time the cause of action

accrued, or (3) the county of Defendant’s principal office in this state. See Tex. Civ.

Prac. & Rem. Code, §15.002. As such, state law would have required transfer had the

action remained in state court.

        3.       While this cause was removed to this Court pursuant to 28 U.S.C.A.

§1441(a) which provides that any civil action brought in a State court may be removed

to the district court of the United States for the district and division embracing the place

where such action is pending, §28 U.S.C.A. §1406(a) governing the cure or waiver of

defects in venue, provides that “the district court of a district in which is filed a case

laying venue in the wrong division or district shall . . . transfer such case to any district

or division in which it could have been brought.” 28 U.S.C.A. §1406(a). Because

Orange County was not a proper venue in state court, and because this cause was

removed to the United States District Court for the Eastern District of Texas, Beaumont

Division only due to the provisions of 28 U.S.C.A. §1441, this case now resides in a

district and division that is improper. Under the terms of U.S.C.A. §1406, Plaintiff’s case

should, therefore, be severed and transferred out of the United States District Court for

the Eastern District of Texas, Beaumont Division to the United States District Court for

the Western District of Texas, Austin Division




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                                              THIRD DEFENSE

        4.       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant asserts

that Plaintiff has failed to state a claim upon which relief can be granted from or against

Defendant.

                                            FOURTH DEFENSE

               I. STATEMENT OF THE PARTIES – SHORT FORM PETITION

        5.       The introductory paragraph of Plaintiff’s Short Form Petition contains no

legal allegations or requests for relief to which a responsive pleading is required.

        6.       Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 1 of Plaintiff’s Short Form Petition.

        7.       Defendant admits that Bayer Corporation was in the business of

manufacturing Baycol. Defendant is without knowledge or information sufficient to form

a belief as to the truth of the remaining averments contained in paragraph 2 of Plaintiff’s

Short Form Petition.

        8.       Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 3 of Plaintiff’s Short Form Petition.

        9.       Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 4 of Plaintiff’s Short Form Petition.

        10.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 5 of Plaintiff’s Short Form Petition.

        11.      Defendant denies that he is a resident of Travis County, Texas as alleged

in paragraph 6 of Plaintiff’s Short Form Petition. Defendant admits he was a physician

doing business in Travis County, Texas. Defendant denies that he was a distributor,




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seller or co-promoter of Baycol. Defendant admits his principal place of office was

15808 Hwy. 620 N., Suite 100, Austin, Texas 78717, in Travis County.

                               II. VENUE – SHORT FORM PETITION

        12.      Defendant denies that venue is proper in Orange County, Texas.

Defendant is without knowledge or information sufficient to form a belief as to the truth

of the remaining averments contained in paragraph 7 of Plaintiff’s Short Form Petition.

        13.      Paragraph 8 of Plaintiff’s Short Form Petition contains no legal averments

or requests for relief to which a responsive pleading is required.

                   III. STATEMENT OF FACTS – SHORT FORM PETITION

        14.      To the extent the averments contained in paragraph 9 of Plaintiff’s Short

Form Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the averments

contained in paragraph 9.

        15.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 10 of Plaintiff’s Short Form Petition.

        16.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 11 of Plaintiff’s Short Form Petition.

        17.      In paragraph 12 of Plaintiff’s Short Form Petition, Defendant is without

knowledge or information sufficient to form a belief as to the truth of whether Baycol was

prescribed by this defendant to the extent such prescription is not reflected in plaintiff’s

medical records.

                     I. STATEMENT OF THE CASE – MASTER PETITION

        18.      The introductory paragraph of Plaintiff’s Master Petition contains no legal

allegations or requests for relief to which a responsive pleading is required.


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        19.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 1 of Plaintiff’s Master Petition.

                  II. STATEMENT OF THE PARTIES – MASTER PETITION

        20.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 2 of Plaintiff’s Master Petition.

        21.      Defendant admits that Bayer Corporation was in the business of

manufacturing Baycol. Defendant is without knowledge or information sufficient to form

a belief as to the truth of the remaining averments contained in paragraph 3 of Plaintiff’s

Master Petition.

        22.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 4 of Plaintiff’s Master Petition.

        23.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 5 of Plaintiff’s Master Petition.

        24.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 6 of Plaintiff’s Master Petition.

        25.      Defendant admits that he is a resident and maintains a place of business

in Texas as alleged in paragraph 7 of Plaintiff’s Master Petition.

        26.      To the extent the averments contained in paragraph 8 of Plaintiff’s Master

Petition are directed at this Defendant, they are denied.             Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 8.

        27.      Paragraph 9 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.




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                             III. JURISDICTION – MASTER PETITION

        28.      Defendant admits that he is a resident of Texas. Defendant denies he has

committed torts in Texas. Defendant is without knowledge or information sufficient to

form a belief as to the truth of the remaining averments contained in paragraph 10 of

Plaintiff’s Master Petition.

                                   IV. VENUE – MASTER PETITION

        29.      Defendant denies that venue is proper in Orange County, Texas.

Defendant is without knowledge or information sufficient to form a belief as to the truth

of the remaining averments contained in paragraph 11 of Plaintiff’s Master Petition.

                       V. STATEMENT OF FACTS – MASTER PETITION

        30.      Defendant denies any tortuous conduct related to Baycol. Defendant is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 12 of Plaintiff’s Master Petition

        31.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 13 of Plaintiff’s Master Petition.

        32.      To the extent the averments contained in paragraph 14 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 14.

        33.      To the extent the averments contained in paragraph 15 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 15.




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        34.      To the extent the averments contained in paragraph 16 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 16.

        35.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 17 of Plaintiff’s Master Petition.

        36.      Defendant denies the averments contained in paragraph 18 of Plaintiff’s

Master Petition.

        37.      To the extent the averments contained in paragraph 19 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 19.

                       VI. COUNT ONE - STRICT PRODUCTS LIABILITY
                                   MASTER PETITION

        38.      Paragraph 20 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        39.      To the extent the averments contained in paragraph 21 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied.

        40.      Defendant denies engagement in the business of manufacturing, testing,

marketing, distributing and selling Baycol as alleged in paragraph 22 of Plaintiff’s Master

Petition. Defendant is a physician. Defendant is without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 22.

        41.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 23 of Plaintiff’s Master Petition.



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        42.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 24 of Plaintiff’s Master Petition.

        43.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 25 of Plaintiff’s Master Petition.

        44.      Defendant denies the averments contained in paragraph 26 of Plaintiff’s

Master Petition.

        45.      Defendant denies the averments contained in paragraph 27 of Plaintiff’s

Master Petition.

              VII. COUNT TWO – NEGLIGENCE AND GROSS NEGLIGENCE
                                MASTER PETITION

        46.      Paragraph 28 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        47.      Paragraph 29 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        48.      To the extent the averments contained in paragraph 30 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the averments

contained in paragraph 30.

        49.      To the extent the averments contained in paragraph 31 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the averments

contained in paragraph 31.

        50.      To the extent the averments contained in paragraph 32 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied



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        51.      Defendant denies the averments contained in paragraph 33 of Plaintiff’s

Master Petition.

                VIII. COUNT THREE – NEGLIGENT MISREPRESENTATION
                                 MASTER PETITION

        52.      Paragraph 34 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        53.      Paragraph 35 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        54.      To the extent the averments contained in paragraph 36 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 36.

        55.      To the extent the averments contained in paragraph 37 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 37.

        56.      To the extent the averments contained in paragraph 38 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 38.

        57.      To the extent the averments contained in paragraph 39 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 39.



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                  IX.          COUNT FOUR - 402B MISREPRESENTATIONS
                                      MASTER PETITION

        58.      Paragraph 40 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        59.      To the extent the averments contained in paragraph 41 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied.

        60.      To the extent the averments contained in paragraph 42 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 42.

        61.      To the extent the averments contained in paragraph 43 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 43.

        62.      To the extent the averments contained in paragraph 44 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 44.

        63.      To the extent the averments contained in paragraph 45 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 45.

        64.      To the extent the averments contained in paragraph 46 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without



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knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 46.

                        X. COUNT FIVE – FRAUD - MASTER PETITION

        65.      Paragraph 47 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        66.      Paragraph 48 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        67.      To the extent the averments contained in paragraph 49 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 49.

        68.      To the extent the averments contained in paragraph 50 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 50.

        69.      To the extent the averments contained in paragraph 51 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 51.

        70.      To the extent the averments contained in paragraph 52 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 52.




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        71.      To the extent the averments contained in paragraph 53 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 53.

                XI. COUNT SIX – CIVIL CONSPIRACY – MASTER PETITION

        72.      Paragraph 54 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        73.      Paragraph 55 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        74.      To the extent the averments contained in paragraph 56 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 56.

        75.      To the extent the averments contained in paragraph 57 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 57.

        76.      To the extent the averments contained in paragraph 58 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 58.

        77.      To the extent the averments contained in paragraph 59 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without




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knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 59.

        78.      To the extent the averments contained in paragraph 60 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 60.

           XII. COUNT SEVEN – BREACH OF CONTINUING DUTY TO WARN
                               MASTER PETITION

        79.      Paragraph 61 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        80.      To the extent the averments contained in paragraph 62 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 62.

        81.      To the extent the averments contained in paragraph 63 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 63.

        82.      To the extent the averments contained in paragraph 64 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 64.

        83.      To the extent the averments contained in paragraph 65 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without



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knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 65.

        84.      To the extent the averments contained in paragraph 66 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 66.

               XIII. COUNT EIGHT – BREACH OF EXPRESS WARRANTIES
                                 MASTER PETITION

        85.      Paragraph 67 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        86.      Paragraph 68 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        87.      To the extent the averments contained in paragraph 69 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 69.

        88.      To the extent the averments contained in paragraph 70 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 70.

        89.      To the extent the averments contained in paragraph 71 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 71.



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        90.      To the extent the averments contained in paragraph 72 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 72.

        91.      To the extent the averments contained in paragraph 73 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 73.

        92.      To the extent the averments contained in paragraph 74 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 74.

         XIV. COUNT NINE – BREACH OF IMPLIED WARRANTY OF FITNESS
               FOR A PARTICULAR PURPOSE – MASTER PETITION

        93.      Paragraph 75 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        94.      To the extent the averments contained in paragraph 76 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 76.

        95.      To the extent the averments contained in paragraph 77 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 77.



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        96.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 78 of Plaintiff’s Master Petition.

        97.      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 79 of Plaintiff’s Master Petition.

        98.      To the extent the averments contained in paragraph 80 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 80.

                 XV. COUNT TEN – BREACH OF IMPLIED WARRNATY OF
                       MERCHANTABILITY – MASTER PETITION

        99.      Paragraph 81 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        100.     To the extent the averments contained in paragraph 82 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 82.

        101.     Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 83 of Plaintiff’s Master Petition.

        102.     Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 84 of Plaintiff’s Master Petition.

        103.     To the extent the averments contained in paragraph 85 of Plaintiff’s

Master Petition are directed at this Defendant, they are denied. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 85.



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              XVI. THE WRONGFUL DEATH ACT AND SURVIVAL STATUTE
                              MASTER PETITION

        104.     Paragraph 86 of Plaintiff’s Master Petition state conclusions of law to

which no responsive pleading is required.

        105.     Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 87 of Plaintiff’s Master Petition.

                       XVII. DAMAGES APPLICABLE TO ALL COUNTS
                                   MASTER PETITION

        106.     Paragraph 88 of Plaintiff’s Master Petition contains no legal allegations or

requests for relief to which a responsive pleading is required.

        107.     Defendant is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 89 of Plaintiff’s Master Petition.

        108.     The final paragraph in this section of Plaintiff’s Master Petition is a request

for jury trial to which no response is required.

        109.     Defendant denies the averments contained in the prayer of Plaintiff’s

Master Petition.

                                             FIFTH DEFENSE

        110.     Defendant pleads that he is not liable in the capacity in which he has been

sued;

                                             SIXTH DEFENSE

        111.     Defendant pleads that Plaintiff is not entitled to recover in the capacity in

which he has sued;

                                           SEVENTH DEFENSE

        112.     Defendant pleads that no agency, contract, or similar relationship exists

now or did exist between this Defendant and the Defendant-Manufacturers such as to


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give rise to any legal responsibility to this Defendant for any conduct or product of the

Defendant-Manufacturers;

                                            EIGHTH DEFENSE

        113.     Defendant pleads that he is not liable under any theory of vicarious or

derivative liability for the conduct or products of any other defendant, nor does any other

theory of liability support the imposition of responsibility on this Defendant for the

conduct or products of others.

                                             NINTH DEFENSE

        114.     Defendant further pleads that Plaintiff has failed to state a cognizable strict

liability cause of action under Texas law for the reason that no "sale" of prescription

medications took place in the physician-patient relationship between the Plaintiff-patient

and Defendant.

                                             TENTH DEFENSE

        115.     Defendant further pleads that Plaintiff has failed to state a cognizable strict

liability cause of action under Texas law for the reason that no "distribution" of

prescription medications occurred in the physician-patient relationship between the

Plaintiff-patient and Defendant.

                                          ELEVENTH DEFENSE

        116.     Defendant further pleads that Plaintiff has failed to state a cognizable

cause of action under any theory of law relating to strict products liability, breach of

warranty, misrepresentation, or other theory for the reason that Defendant is not, and

was not, a distributor, retailer, seller, or marketer of prescription medications, nor was

Defendant an agent or representative of the prescription medications manufacturers.




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                                          TWELFTH DEFENSE

        117.     Defendant further pleads that Plaintiff has failed to state a cognizable

cause of action under Texas law relating to consumer protection actions or for other

non-medical causes of action for the reason that such causes of action are barred by

the Medical Liability and Insurance Improvement Act of Texas.

                                        THIRTEENTH DEFENSE

        118.     Defendant further pleads that Plaintiff has failed to state a cognizable

cause of action under Texas law and any theory of breach of warranty for the reason

that such cause of action is barred by the common law of the State of Texas, and

Defendant pleads further that no warranties or guarantees, express or implied, were

given by this Defendant.

                                       FOURTEENTH DEFENSE

        119.     Defendant further pleads that Plaintiff has failed to state a cognizable cause

of action for fraud, misrepresentation, breach of warranty, or any other theory arising from

representations made or allegedly made by Defendant, or disclosures not made or

allegedly not made, for the reason that all such theories of recovery are subsumed under

the sole theory of negligence and informed consent under the Medical Liability and

Insurance Improvement Act of Texas.

                                         FIFTEENTH DEFENSE

        120.     Defendant further pleads that any injury or damages alleged or sustained by

Plaintiff are the result of pre-existing medical or psychological conditions or disabilities that

are in no way the responsibility of this Defendant; thus, this Defendant has no legal

responsibility for any injury or damages alleged or sustained by Plaintiff as a result of any




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medical or psychological condition or disease process over which this Defendant

exercised no control.

                                         SIXTEENTH DEFENSE

        121.     Defendant pleads that he is entitled to rely upon the punitive damages

limitations provisions available in Texas law in response to any claim by Plaintiff seeking

punitive or exemplary damages.

                                       SEVENTEENTH DEFENSE

        122.     Defendant pleads that he is entitled to rely upon the applicable provisions

of the Federal and Texas Constitutions that govern the award of punitive damages.

Thus, Defendant pleads that such awards may contravene the Excessive Fines Clause

of the Federal Constitution, the Equal Protection and Due Process Clauses of the

Federal Constitution, the Equal Protection and Due Process Clauses of the Texas

Constitution, and any other such provision now or hereafter deemed applicable to the

award of such damages.

                                        EIGHTEENTH DEFENSE

        123.     Defendant pleads the provisions of Article 4590i of the Texas Revised

Civil Statutes, which limit the amount of damages recoverable in this suit except for past

and future medical expenses.

                                        NINETEENTH DEFENSE

        124.     Defendant pleads the provision of Article 4590i of the Texas Revised Civil

Statutes, which requires that Plaintiff provide 60 days' notice prior to filing a suit in any

court of this state based upon a health care liability claim.




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                                         TWENTIETH DEFENSE

        125.     Defendant pleads that Plaintiff has failed to meet all conditions precedent to

filing this action under Article 4590i of the Texas Revised Civil Statutes.

                                       TWENTY-FIRST DEFENSE

        126.     Defendant further pleads that Plaintiff has failed to meet all conditions

precedent to filing this action, including but not limited to, failing to provide timely notice

to Defendant of any alleged breach of warranty.

                                     TWENTY-SECOND DEFENSE

        127.     Pleading further, Defendant invokes his legal right to a reduction of any

dollar verdict that may be rendered in this cause by credit for payments made by other

persons or entities or by percentage reductions to which Defendant would be entitled as

a result of jury findings against other persons or entities. In this connection, Defendant

reserves the right under Texas common law and the Texas Civil Practice and Remedies

Code to submit issues against parties who may be present in this case or absent from

the case at the time the matter is passed to the jury for fact determinations.

                                   FIRST AFFIRMATIVE DEFENSE

        128.     Defendant affirmatively pleads that the causes of action alleged by Plaintiff

are barred by the applicable statutes of limitations and/or by the doctrines of laches,

waiver and estoppel.

                                 SECOND AFFIRMATIVE DEFENSE

        129.     Defendant affirmatively pleads that the causes of action alleged by Plaintiff

are barred by the provisions of the Texas Statute of Frauds.




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                                   THIRD AFFIRMATIVE DEFENSE

        130.     Defendant affirmatively pleads that he is entitled to rely upon those legal

defenses and theories of confession and avoidance, defense, or allocation of damages

variously known as contributory negligence, assumption of the risk, act of God,

unavoidable accident, failure to mitigate damages, and all other legal and equitable

concepts that are applicable to avoid or shift legal responsibilities or damages.

                                 FOURTH AFFIRMATIVE DEFENSE

        131.     Defendant affirmatively pleads that he is entitled to rely upon those legal

defenses and theories relevant to the issue of causation, either producing or proximate,

that are variously known as superseding cause, intervening cause, sole proximate

cause, assumption of the risk, and all similar legal and equitable theories to establish

the absence of the required elements of causation requisite to Plaintiff’s theories of

recovery.




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        WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take

nothing by reason of this suit, that all costs be taxed against Plaintiff, and that

Defendant has such other, further, or alternative relief to which Defendant may be

legally or equitably entitled.

                                                    Respectfully submitted,

                                                    CRUSE, SCOTT, HENDERSON & ALLEN, L.L.P.

                                                    “Original Signature on File with Filing Attorney”


                                                    By:
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                                                    DR. DAVID WASSERMAN




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                                      CERTIFICATE OF SERVICE

       I, Jay H. Henderson, hereby certify that a true and correct copy of the above and
foregoing has been provided to opposing counsel in accordance with the applicable
Federal Rules of Civil Procedure on this 15th day of April, 2004.


                                                    “Original Signature on File with Filing Attorney”


                                                    Jay H. Henderson

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